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 4                          UNITED STATES DISTRICT COURT

 5                         EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,              No. 2:13-CR-00267-GEB
 8                   Plaintiff,
 9        v.                                ORDER
10   FERLANDO CARTER, et al.,
11                   Defendant.
12

13               On April 14, 2016, the undersigned judge received the a

14   letter dated April 11, 2016, from the Warden of the Federal

15   Bureau    of    Prisons,     Federal   Medical    Center,   Butner,   North

16   Carolina,      to   which   is   attached   a   “Forensic   Evaluation”   of

17   defendant Ferlando Carter. The “OPINION ON COMPENTENCY” portion

18   of the forensic evaluation states in pertinent part:

19               Although the determination of Mr. Carter's
                 current competency and need for further
20               restoration is ultimately a decision for the
                 Court, it is our opinion further time is
21               required   in    order   to   encourage    his
                 participation in the evaluation process and
22               complete further psychological testing. . . .
23               In summary, although the prevailing opinion
                 is that Mr. Carter is not competent, we
24               believe there is a substantial probability
                 that Mr. Carter's competency will be restored
25               in the foreseeable future with continued
                 restoration efforts . . . . Therefore, we
26               respectfully request the Court order an
                 additional 120 day period of hospitalization
27               and treatment pursuant to Title 18, U.S.C.§
                 424l(d). This would allow sufficient time to
28               obtain a better understanding of Mr. Carter's
                                       1
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 1                  true abilities.

 2                  These documents shall be filed under seal, but shall be

 3   served    on    defendant   Ferlando   Carter’s   counsel   and   the   United

 4   States.

 5   Dated:    April 14, 2016

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